          Case 2:16-cr-00265-GMN-NJK Document 1425 Filed 12/28/18 Page 1 of 2



 1                               UNITED STATES DISTRICT COURT
 2                                       DISTRICT OF NEVADA
 3
     UNITED STATES OF AMERICA,                         )
 4                                                     )
                           Plaintiff,                  )    Case No.: 2:16-cr-00265-GMN-CWH-22
 5
            vs.                                        )
 6                                                     )                      ORDER
                                                       )
 7   MATHEW KEITH DUNLAP,                              )
                                                       )
 8                         Defendant.                  )
 9                                                     )
                                                       )
10
11          Pending before the Court is the Report and Recommendation of the Honorable United

12   States Magistrate Carl W. Hoffman, (ECF No. 1386), which states that Defendant Mathew
13   Keith Dunlap’s Motion to Dismiss Counts Six, Seven, Eight, Nine, and Ten of the Superseding

14   Indictment Pursuant to 18 U.S.C.S. § 3282, (ECF No. 1001), should be denied.
15          A party may file specific written objections to the findings and recommendations of a
16   United States Magistrate Judge made pursuant to Local Rule IB 1-4. 28 U.S.C. § 636(b)(1)(B);

17   D. Nev. R. IB 3-2. Upon the filing of such objections, the Court must make a de novo
18   determination of those portions to which objections are made. Id. The Court may accept, reject,
19   or modify, in whole or in part, the findings or recommendations made by the Magistrate Judge.

20   28 U.S.C. § 636(b)(1); D. Nev. IB 3-2(b). Where a party fails to object, however, the Court is
21   not required to conduct “any review at all . . . of any issue that is not the subject of an
22   objection.” Thomas v. Arn, 474 U.S. 140, 149 (1985). Indeed, the Ninth Circuit has recognized

23   that a district court is not required to review a magistrate judge’s report and recommendation
24   where no objections have been filed. See, e.g., United States v. Reyna–Tapia, 328 F.3d 1114,
25   1122 (9th Cir. 2003).


                                                  Page 1 of 2
         Case 2:16-cr-00265-GMN-NJK Document 1425 Filed 12/28/18 Page 2 of 2



 1         Here, no objections were filed, and the deadline to do so has passed.
 2         Accordingly,
 3         IT IS HEREBY ORDERED that the Report and Recommendation, (ECF No. 1386), is
 4   ACCEPTED and ADOPTED in full.
 5         IT IS FURTHER ORDERED that Defendant Dunlap’s Motion to Dismiss Counts Six,
 6   Seven, Eight, Nine, and Ten of the Superseding Indictment Pursuant to 18 U.S.C.S. § 3282,
 7   (ECF No. 1001), is DENIED.
 8         DATED this ___
                      28 day of December, 2018.
 9
10                                               ___________________________________
                                                 Gloria M. Navarro, Chief Judge
11                                               United States District Court
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